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                           IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                                       ORDER GRANTING
                                                              PERMISSION TO OPEN TWO
                   Plaintiff,                             ACCOUNTS AS REQUIRED BY ORDER
                                                           SETTING CONDITIONS OF RELEASE
  v.
                                                                   Case No. 2:21-cr-00520 JNP
  ALLISON MARIE BAVER,

                   Defendant.


        Based upon the oral motion of the Defendant Allison Baver (Defendant or Baver), stipulation of

the United States and good cause appearing:

        IT IS HEREBY ORDERED that as required in the Order Setting Conditions of Release (ECF 13),

specifically, that Ms. Baver must “not sell or dispose of any property over $500 and she is not to transfer

assets or monies without prior approval from the Court,” Defendant is granted permission to close the two

business accounts with Case Bank which were for Allison Baver Entertainment and High Rise Reality LLC.

She also has permission to only open two new accounts to deposit the funds from the closed accounts for

Allison Baver Entertainment and High Rise Realty LLC. Within five days of opening the business accounts,

Ms. Baver must provide to her pretrial officer documentation of the account(s) opening via signature page

and opening statement(s) for each account(s). Failure to do so will result in a violation. All conditions set

forth in the Order Setting Conditions of Release are in force and unchanged by this Order.

                   19th day of September, 2023.
        DATED this _____


                                                  BY THE COURT:
                                                  _____________________________
                                                  CECILIA M. ROMERO
                                                  United States District Court Magistrate Judge
